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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

                                   )
UNITED STATES OF AMERICA,          )
et al, ex rel. LAUREN KIEFF,       )
Plaintiffs,                        )
v.                                 )
                                   )
WYETH PHARMACEUTICALS, INC.,       )
Defendant.                         )
                                   )
                                   )
UNITED STATES OF AMERICA et al,    )
ex rel.WILLIAM LACORTE,            )
        Plaintiff,                 )
                                   )      Civil Action No. 06-11724-DPW
       v.                          )
                                   )
WYETH,                             )
    Defendant.                     )
                                   )

              PLAINTIFFS/INTERVENORS VEZINA & GATTUSO, LLC
                 AND BOONE & STONE’S TRIAL MEMORANDUM

                                   VEZINA & GATTUSSO, LLC and
                                   BOONE & STONE

                                   By their attorneys,

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600 So. 2d 683 (La. 1992) ................................................................................................2, 14, 15

Smith v. Westside Transit Lines, Inc., 313 So.2d 371 (La. App. 3d Cir. 1974) ..........................16

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        I. Introduction

        Plaintiffs/Intervenors Vezina & Gattuso, LLC (“V&G”) and Boone & Stone (“B&S”)

respectfully suggest that they have rendered substantial and meaningful legal services in

connection with their representation of the Relator Dr. William St. John LaCorte (“Dr. LaCorte”)

and that their remedy may be determined by the June 24, 2004 Representation Contract for the

Wyeth matter that Dr. LaCorte, with advice of his own counsel, voluntarily entered into and that

permits the allocation of the contingency attorneys’ fees on a 1/3, 1/3, 1/3 basis among V&G,

B&S and the Sakla parties, for at least the following reasons: (i) V&G and B&S rendered

substantial and meaningful legal services that assisted in the successful outcome of this Wyeth

qui tam matter; (ii) Dr. LaCorte has stipulated and agreed in a binding and judicially enforced

settlement agreement in this action that the funds remaining in the registry of the court are

contingency attorneys’ fees to be allocated among the three firms,1 (iii) Dr. LaCorte has

dismissed, with prejudice, his motion to quash V&G and B&S’s attorneys’ lien,2 and the Sakla

parties lack standing to challenge the validity of the June 24, 2004 Representation Contract; (iv)

Dr. LaCorte has acknowledged in a binding representation to the U.S. District Court for the

Eastern District of Louisiana and in an executed settlement agreement that V&G and B&S had

complied with all applicable standards of care and all applicable rules of professional ethics in

their representation of Dr. LaCorte in all of his five qui tam case (which included the Wyeth

case),3 and (v) Dr. Sherif K. Sakla (“Sakla”) and The Sakla Law Firm, APLC (“TSLF”)

(collectively “the Sakla parties”) can and should be judicially estopped from denying Sakla’s


1
  See ECF Nos. 621 and 623.
2
  See ECF No. 621 and 623.
3
  See V&G and B&S Proposed Additional Findings of Fact and Conclusions of Law, Additional Findings ¶¶172-176
(ECF No. 691) (hereinafter “V&G/B&S’s Additional Proposed Findings/Conclusions, Additional
Findings/Conclusions ¶__”)(ECF No. 691); see also Plaintiffs’ Exhibit No. 145 (August 11, 2008 Hearing Transcript
of Settlement before The Honorable Lance M. Africk, pp. 7:20-8:1; p. 21:13-18), and Plaintiffs’ Ex. No. 146 (Dr.
LaCorte Settlement Agreement and Release in Merck, Section V, ¶3).

                                                       1
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binding admissions that the June 24, 2004 Representation Contract -- the very contract at issue

here -- irrevocably assigned a 1/3, 1/3, 1/3 interest to each of the three law firms.

         This dispute exists solely because the Sakla parties are refusing to honor their agreement

with V&G and B&S. This case is not about whether a client has the right to terminate one or

more of his lawyers, but rather about the proper remedy under the contract and, if necessary, the

principles of quantum meruit at issue here. Specifically, V&G and B&S respectfully suggest that

there is a contract remedy available under the laws of Louisiana and Georgia permitting the

equitable division of 1/3, 1/3, 1/3 where, as here, the termination of V&G and B&S was without

cause (which the Sakla parties do not have standing to raise or challenge), and there was no

successor counsel engaged by Dr. LaCorte to represent him prospectively in the Wyeth matter.4

Moreover, even if the court were to determine that quantum meruit is the alternative remedy for

V&G and B&S, the value at issue is the value to the recipient (i.e. LaCorte, not Sakla). LaCorte

has already agreed that the overall value of the services of all three law firms is 38% of his

relator’s share. All that is at issue, therefore, is the division of those fees.

         II.      Brief Synopsis of the Wyeth Litigation

         (i)      Negotiations of Qui Tam Contingency Fee Agreements with Relator Dr. LaCorte5

         In December of 1999, the Sakla Parties and V&G commenced representing Dr. LaCorte




4
  Louisiana law: Jumonville v. Cardenas, 2013 WL 6506205 (Unpublished, Case No. 2013-0037 La. App. 1st Cir.
12/10/13), rehearing denied (3/24/2014)(“Where a client agrees to a contingency fee to be paid to more than one
attorney jointly, there is a joint venture and each is entitled to share equally in any attorney’s fees generated.”);
Scurto v. Siegrist, 598 So. 2d 507, 509-10 (La. Ct. App. 1992) writ denied, 600 So. 2d 683 (La. 1992); Defrancesch
v. Hardin, 510 So. 2d at 46; McCann v. Todd, 203 La. 631, 638, 14 So.2d 469, 471 (1943).
Georgia law: Kilgore v. Sheetz, 268 Ga. App. 761, 769, 603 S.E.2d 24, 30 (2004) (Equal division of fees rule
applies in the case of joint representation even though settlement occurs after one of the attorneys has died); Morrow
v. Stewart, 197 Ga. App. 689, 690, 399 S.E.2d 280, 281 (1990); Hill v. Centennial/Ashton Properties Corp., 254 Ga.
App. 176, 177, 561 S.E.2d 853, 855 (2002) (same, citing Morrow); Glover v. Maddox, 106 S.E.2d 288, 295 (Ga.
App. 1958).
5
  See V&G and B&S Proposed Findings of Fact and Conclusions of Law, Section IV, ¶¶35-55 (ECF No. 685-
1)(hereinafter “V&G/B&S Proposed Findings/Conclusions, Section__, ¶__ (ECF No. 685-1).

                                                          2
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in the first group of his qui tam cases.6 TSLF associated with V&G as co-counsel in each of Dr.

LaCorte’s five qui tam cases, with Dr. LaCorte’s consent.7 On April 4, 2000, Dr. LaCorte

executed an agreement with Mr. Vezina and Dr. Sakla of TSLF8 in which V&G and TSLF were

entitled to 33 1/3% of all of Dr. LaCorte's recovery if the USDOJ intervened and 40% if USDOJ

declined.9

           In or around the spring of 2003, TSLF and V&G associated B&S as their co-counsel in

each of Dr. LaCorte’s qui tam cases, including Wyeth and Merck, with Dr. LaCorte’s consent,10

because Dr. LaCorte needed to associate a law firm with experience litigating complex cases in

the federal courts. On July 10, 2003, V&G’s Mr. Vezina wrote a letter to B&S (copying TSLF)

stating:

                  As you will note from the contract, we are specifically authorized by the
                  client to engage and retain additional counsel, as needed, to successfully
                  prosecute this action. Dr. LaCorte has been consulted with regard to this
                  decision and concurs with same. As we have further discussed, with
                  regard to the division of fees allowable under this agreement, it is
                  specifically agreed to that my firm, the Sakla Law Firm, and the law firm
                  of Boone & Stone will share equally in any attorneys’ fees generated in
                  this case.

The July 10, 2003 letter included a copy of the 2000 Fee Agreement.11

           On August 21, 2003, B&S sent a letter to TSLF and V&G, which memorialized the

attorneys' understanding of the division of contingency attorneys’ fees (1/3 to B&S, 1/3 to V&G,

and 1/3 to TSLF) on the first of Dr. LaCorte's qui tam cases.12 On April 24, 2004, Dr. LaCorte,


6
  Id., Section IV, ¶35 (ECF No. 685-1).
7
  Id., Section IV, ¶35, third sentence (ECF No. 685-1).
8
  Id., Section IV, ¶36 (ECF 685-1). This fee agreement is referred to as the 2000 Fee Agreement.
9
  The 2000 Fee Agreement also stated that V&G and TSLF were authorized to employ additional attorneys in the
enforcement of and prosecution of the claims.
10
   Id., Section IV, ¶38 (ECF No. 685-1). Prior to representing Dr. LaCorte, Dr. Sakla had never handled a qui tam
case. Dr. Sakla has never tried a qui tam case through trial in his career. V&G/B&S’s Additional Proposed
Findings, ¶161 and fns. 1, 2 (ECF No. 691).
11
   Id., Section IV, ¶40 (ECF No. 685-1); see Plaintiffs’ Ex. 4.
12
   V&G/B&S’s Proposed Findings/Conclusions, Section IV, ¶40 (ECF No. 685-1).

                                                         3
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V&G and TSLF executed another Fee Agreement and Authority to Request, which mirrored the

2000 Fee Agreement, stating that V&G and TSLF were entitled to 33 1/3% of all of Dr.

LaCorte's recovery if USDOJ intervened and 40% if USDOJ declined.13

        On June 24, 2004, with advice of his own counsel (Mr. Malcolm Meyer), Dr. LaCorte

entered into the Fee Agreement with V&G, B&S, and TSLF (the “June 2004 CFA”) jointly

representing him concerning all his FCA claims against Wyeth,14 Merck & Company, Inc.,

Omnicare, Inc., Pharmerica, Inc., and Tap Pharmaceuticals, Inc.15 The June 2004 CFA re-

affirms the equal division of attorney’s fees in this pool of cases, rather than provide for the

division of attorneys’ fees on a case-by-case basis depending on the amount of work or services

provided by each law firm.16 Much of the handwriting that appears on the 2004 CFA is from Dr.

LaCorte’s independent counsel, Malcolm Meyer.17

        (ii)    V&G and B&S’s Work in The Wyeth Qui Tam Case18

        On March 21, 2002, Relator LaCorte, through his qui tam counsel, V&G and the Sakla

Parties filed a qui tam False Claims Act ("FCA") case under seal against Wyeth in an action

initially known as U.S. ex rel. Dr. LaCorte v. Wyeth, Civil Action No. 02-0851 (USDC E.D.

LA.)(“LaCorte/Wyeth EDLA”) in the United States District Court for the Eastern District of

Louisiana.19 In June 2003, on behalf of the federal government, the USDOJ declined to




13
   Id., Section IV, ¶43 (ECF No. 685-1). This agreement is hereinafter referred to as the "April 2004 Fee
Agreement." The 2004 Fee Agreement also authorized to V&G and TSLF to employ additional attorneys in the
enforcement of and prosecution of the claim.
14
   See June 24, 2004 Representation Agreement (Plaintiffs’ Ex. 19).
15
   See generally V&G/B&S’s Proposed Findings/Conclusions, Section IV, ¶47 (and fns. 28-31).
16
   V&G/B&S’s Proposed Findings/Conclusions, Section IV, ¶47 (ECF No. 685-1). V&G and B&S contend that
under the June 2004 CFA, attorneys’ fees were to be divided equally among V&G, B&S, and TSLF, 1/3 to each law
firm.
17
   Id., Section IV, ¶49.
18
   Id., Sections VI, ¶¶61-65, VII, ¶¶66-79, VIII, ¶¶80-87, and IX, ¶¶88-94 (ECF No. 685-1).
19
   Id., Section II, ¶4 (ECF No. 685-1); see Plaintiffs’ Ex. 1.

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intervene and take over the LaCorte/Wyeth EDLA case.20

        In what has been described by Dr. Sakla as the “eureka moment,”21 Mr. Vezina

developed the critical theory of liability of bundling/best price that was the foundation of the

LaCorte qui tam cases and was the lead counsel and principal drafter of the first amended

complaint that more fully detailed these claims/theories and attached the Wyeth Protonix

Performance Agreement.22 Mr. Vezina also was the principal drafter of the second amended

complaint that added states to the Relator LaCorte’s qui tam claims against Wyeth.23 Both the

first amended complaint and second amended complaint, which were filed in the U.S. District

Court for the Eastern District of Louisiana, related back to the original date of filing.24 As Dr.

LaCorte and Dr. Sakla acknowledged, the First Amended Complaint, which was principally

drafted by Mr. Vezina, raised bundling/best price claims which were the claims of interest to the

government and were the claims that the government and Wyeth ultimately determined were the

covered conduct under the settlement agreement.25

        (iii)    The Negotiations of the Co-Relator Agreement26

        Another Relator, Lauren Kieff (“Ms. Kieff”), filed a qui tam FCA case against Wyeth

under seal in an action initially known as U.S. ex rel. Lauren Kieff v. Wyeth, USDC Civil Action



20
   V&G/B&S’s Proposed Findings, Section II, ¶5 (ECF No. 685-1).
21
   Id., Section II, ¶6 (ECF 685-1); see also S. Sakla Depo., pp. 43:19-44:5 (ECF No. 686-10)(“And Marc was the
one who came up with – actually, it was a eureka moment in my office when he came up with the fact that the
government gets the best price. Because we were talking nominal price, and then he had a – he was reading
[voraciously], and he came up with that eureka moment that the government gets the best price. And that’s when we
started the cause celeb”).
22
   Id., Section II, ¶6 (ECF No. 685-1).
23
   Id., Section II, ¶7 (ECF No. 685-1).
24
   Id.
25
   Id., Section VII, ¶¶66-75, Section VIII, ¶ 83, Section IX, ¶¶88- 94 (ECF No. 685-1); id., Proposed Ultimate
Findings of Fact and Conclusions of Law, ¶¶2, 3 (ECF No. 685-1); see also Dr. LaCorte Depo., pp. 26:1-27:20
(ECF No. 691-10); S. Sakla Depo., pp. 45:10-15, 19-21 (“When the government intervened, clearly they were
interested in the bundling theory”); 46:17-18 (“The Covered Conduct was the best price bundling, yes”)(ECF No.
686-10).
26
   Id., Section VIII, ¶¶80-87 (ECF No. 685-1).

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No. 03-12366-DPW (“Kieff/Wyeth”) after Dr. LaCorte filed his original complaint and after Dr.

LaCorte filed the first amended complaint that contained the bundling/best price allegations.

Between April/May of 2004 and March of 2006, B&S attorneys Mr. Boone & Mr. Stone were

the lead negotiators on Relator LaCorte’s team involved in negotiating and securing a co-relator

agreement with the other relator, Ms. Kieff, that fixed the relator shares on the Wyeth qui tam

action on a 60/40 split on the federal claims and a 40/60 split on the state qui tam claims between

Relator LaCorte and Relator Kieff respectively.27 Other than attending a meeting or two, Dr.

Sakla was not involved in those negotiations and was actually precluded by Dr. LaCorte from

attending a scheduled meeting in August of 2005 as per Dr. LaCorte’s observation that Dr. Sakla

would cause “confusion” in any settlement talks. Securing this co-relator agreement was

essential to moving the case towards intervention by the federal government because it resolved

any dispute among the two relators, Dr. LaCorte and Ms. Kieff, as to who was “first to file” the

bundling/best price claims in which the federal government had expressed interest in pursuing.

        (iv)     The Transfer of the Wyeth Case to Boston28

        In September 2006, upon the request of USDOJ and with the consent of Dr. LaCorte, the

LaCorte/Wyeth EDLA was transferred to the United States District Court in Boston, MA, in an

action known as U.S. ex rel. Dr. LaCorte v. Wyeth, USDC Civil Action No. 06-11724-DPW

(“LaCorte/Wyeth”) and subsequently consolidated with the Kieff/Wyeth action (collectively the

“Wyeth Qui Tam Consolidated Action.”).29 USDOJ also requested that Dr. LaCorte voluntarily

dismiss all of Dr. LaCorte’s claims, except for bundling/best price claims in which the



27
   Id, Section VIII, ¶¶80-87 (ECF No. 685-1); see also Co-Relator Agreement, Plaintiffs’ Ex. 57.
28
   V&G/B&S’s Proposed Findings/Conclusions, Section IX, ¶¶88-91 (ECF No. 685-1).
29
   Id., Section IX, ¶91 (ECF No. 685-1). Dr. LaCorte agreed that the transfer of the case and consolidation with the
Kieff/Wyeth case was a good sign of the government’s likely intervention. See Dr. LaCorte Depo, p. 228:6-15 (ECF
No. 686-10).

                                                         6
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government had indicated an interest in intervening.30 Dr. LaCorte agreed to dismiss the non-

bundling/best price claims to simplify and streamline the case once it was transferred to United

States District Court in Boston, MA.31

        (v)      USDOJ Expressed Interest in and Was Preparing Authorization to Intervene and
                 Litigate or Settle the Wyeth Action32

        In his role as the point person for interacting with the government lawyers, Mr. Vezina

learned that USDOJ’s client agency, namely CMS, was on board with the USDOJ

recommendation to intervene in the Medicaid rebate claims.33 During fall of 2006, Mr. Vezina

learned that USDOJ was seeking the authority of CMS to approve the intervention with regard to

the bundling claims and that USDOJ was preparing its complaint of intervention.34 Mr. Vezina

informed Dr. LaCorte and his co-counsel of these significant developments.35 V&G and B&S

were integrally involved in turning the government’s decision to decline the Wyeth case into one

where the government had decided to intervene (intervention being the proverbial holy grail of

success in qui tam litigation).36

        (vi)     Even If Dr. Sakla Has Standing to Raise the Issue, Which He Does Not, Dr.
                 LaCorte’s Discharge of V&G and B&S Was Without Cause

        On January 23, 2008 and February 7, 2008, Relator LaCorte discharged V&G and B&S37

respectively without case at a time when Dr. LaCorte and Dr. Sakla knew that the government

had not only reached a settlement in the Merck qui tam action in Louisiana, but had further
30
   Id., Section IX, ¶89 (ECF No. 685-1). The partially dismissed claims included anti-kickback claims, Prescription
Drug Marketing Act claims, Food Drug and Cosmetic Act claims, and other related non-bundling/non-best price
matters contained in his second amended complaint. These claims were later added back into the Relator LaCorte’s
case in August 2008, but were not part of covered conduct in the Wyeth settlement agreement and added no
economic value to the settlement amount. Id., Section II, ¶¶2, 14; Section XIII ¶¶126, 127.
31
   Id., Section IX, ¶89.
32
   Id., Section IX, ¶¶88-94.
33
   Id., Section IX, ¶92.
34
   Id.
35
   Id., Section IX, ¶93. A criminal grand jury proceeding against Wyeth was ongoing in the District of
Massachusetts over several years, including between 2006 and 2009. This delayed the government’s intervention.
36
   Id., Sections VI, ¶¶61-65, VII, ¶¶66-79, VIII, ¶¶80-87, and IX, ¶¶88-94.
37
   Dr. LaCorte was a serial terminator. Id., Section X, ¶¶ 97-104 (ECF No. 685-1).

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decided to intervene on bundling/best price claims in the LaCorte/Wyeth qui tam action in

Boston.38 As stipulated by his lawyer in the U.S. District Court for the Eastern District of

Louisiana, Dr. LaCorte agreed that:

                  … Boone & Stone and Vezina & Gattuso and the Sakla Law Firm and all
                  of the attorneys in those firms, provided him with adequate legal
                  representation within the standard of care for attorneys generally under
                  similar circumstances and conditions within applicable professional
                  standards in all his qui tam cases and in particular Merck.39

         To justify the without cause discharge, Dr. Sakla falsely suggested to Dr. LaCorte that

V&G and B&S had “conflicts of interest.” However, there was no conflict of interest by either

V&G or B&S. V&G’s work as the point person for Dr. LaCorte with the government attorneys

benefitted Dr. LaCorte.40 Delaware’s assistant attorney general, Dan Miller, granted access to

V&G, but not to B&S or the Sakla parties, because he knew Mr. Vezina and trusted him.41

Opportunistically, Dr. Sakla relied on the foregoing to spin Dr. LaCorte into thinking that Mr.


38
   Id., Section IX, ¶¶88-94 (ECF No. 685-1); see also Dr. LaCorte Deposition, pp. 231:1–233:2 (ECF No. 686-10);
S. Sakla Deposition, pp. 83:2-9 (Q. Prior to January 23, 2008, when Mr. Vezina was discharged by Dr. LaCorte, had
the government expressed any interest in intervening in the Wyeth matter? A. Yes, The government, through Mr.
Vezina, and probably - - you know, I think it was primarily through Mr. Vezina, expressed that they’re interested in
intervening…”); 84:16-20(“Q. So they had expressed an interest in intervening prior to the time of discharge of Mr.
Vezina by Dr. LaCorte, correct? A. That was my understanding, that they had expressed interest in intervening”)
(ECF No. 686-10).
39
   See V&G/B&S’s Additional Proposed Findings/Conclusions, ¶172 (ECF No. 691); see also Plaintiffs’ Ex. 145,
pp. 7:20-8:1, 21:13-18.
40
   To the extent Dr. Sakla attempts to raise his inability to access the Wyeth documents in the possession of the
Delaware states attorneys, he has only himself to blame. See V&G and B&S’s Proposed Findings/Conclusions,
Section XI, ¶¶108-118 (ECF No. 685-1); see also S. Sakla e-mail, dated Jan. 17, 2008, to D. Miller and others
(Plaintiffs’ Ex. No. 130)(“I fail to understand your assertion that the fact of Mr. Vezina being counsel of record
obviates the conflict of interest raised by Dr. LaCorte. You might want to elaborate on that assertion. However, you
must admit that the interest of the State of Delaware and that of Dr. LaCorte are not mutually aligned. Therefore, if
Mr. Vezina is working strictly for your benefit, without the express authorization of his client, that in and of itself
would raise questions of loyalty, duty and conflict of interest”); (“Mr. Vezina is not authorized by Dr. LaCorte to
work with you on his behalf. Any other work with you causes a conflict of interest which Dr. LaCorte does not
waive”).
41
   See Daniel Miller Declaration, ¶ ¶14, 17 (ECF No. 686-9); see also Plaintiffs’ Ex. No. 129 (“Moving on to your
concerns, there are two clear reasons I agreed to share the Wyeth documents with Mr. Vezina: 1) I have met Mr.
Vezina on numerous occasions and we have an established relationship within which I trust him to keep information
confidential, and 2) Mr. Vezina’s work on the Pepcid documents with Texas, the U.S. and Delaware was the driving
force behind the Merck settlement. Accordingly, when Mr. Vezina offered to set up a secure Wyeth website to
review the documents, both I and the federal government prosecutors working the case were delighted. As is my
normal practice, I specifically excluded the relator from the confidentiality agreement.”)(emphasis in original).

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Vezina was somehow not acting in the best interest of Dr. LaCorte and had a conflict of interest

in working as the point person with the government which is the primary objective in False

Claims Act cases to benefit the Governments’ claims and therefore the Relator’s bounty.42

         Additionally, despite Dr. Sakla’s knowingly false prompting to Dr. LaCorte to the

contrary, there was no conflict with having Russ Herman represent V&G and B&S because of

Mr. Herman’s involvement in the Merck case. This again was a ploy by Sakla to foment Dr.

LaCorte into acting against V&G and B&S due to claimed deficiencies in pleadings in Merck

that even Dr. Sakla himself rejected.43 Dr. Sakla knew that Dr. LaCorte had previously released

Relator Steinke in the Merck case in October 2007 and had agreed to the Merck settlement

agreement containing the release through Jan. 1, 2018. Yet Sakla so wanted to remove V&G and

B&S and with unbridled avarice that defied reality as he continued to twist the truth for his own

personal gain.


         Given the foregoing, it is clear that Dr. LaCorte has already agreed that funds remaining

in the registry of this court are for the court to allocate among the three law firms and he has

released all of his three law firms engaged on the Wyeth matter from any claim by him to those

proceeds.44 Dr. LaCorte knowingly and voluntarily dismissed with prejudice his attempts to

weigh in on the dispute presently before the Court.45 Sakla tortiously fomented trust issues with


42
   See V&G/B&S’s Proposed Findings/Conclusions, Section XI, ¶¶115-118 (ECF No. 685-1).
43
   Any claims that Dr. LaCorte could have asserted in the Merck case were released by LaCorte in October 2007
when he knowingly executed a mutual release with the other relator (Steinke) who asserted qui tam claims against
Merck relating to Vioxx and Zocor drugs and had agreed to a Settlement Agreement and Release in Merck whereby
he agreed to not assert any claims against Merck through January 1, 2018. Id., Section XI, ¶119 and fn. 43 (ECF
No. 685-1).
44
   See Joint Motion to Enforce Settlement Agreement (ECF No. 621) and Court Order approving Settlement
Agreement (ECF No. 623). Dr. Sakla lacks standing to raise the issue whether the termination was for cause or not
for cause as that is a matter for the client to raise and he has dismissed, with prejudice, his prior motion to re-open
case and to quash attorneys’ lien. See ECF Nos. 621 and 623.
45
   See ECF No. 621 (“Relator also requests that Relator’s Motion to Reopen Case and Quash Attorney’s Lien,
ECF No. 535, be dismissed with prejudice”) and ECF No. 623 (“Motion to Reopen Case and Quash Attorney's Lien
of Vezina & Gattuso, LLC and Boone & Stone by William St. John LaCorte [535] DISMISSED with

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Dr. LaCorte in a deliberate attempt to interfere with V&G’s and B&S’s relationship with Dr.

LaCorte and cause the termination of both V&G and B&S.46

        (vii)   The Government’s Intervention and Prosecution of the FCA Claims against
                Wyeth

        Within days of Wyeth disclosing the existence of the government’s qui tam investigation

and disclosure of qui tam claims under seal in an SEC filing, the U.S. government intervened in

the Wyeth Qui Tam Consolidated Action in April, 2009 filing its own complaint on the

bundling/best price claims conceived and developed by Mr. Vezina. Thirty–six (36) states also

intervened in the Wyeth Qui Tam Consolidated Action. Wyeth’s motions to dismiss the federal

government’s FCA claims, the states’ claims, and Relators’ claims were denied from the bench

by this Court in February, 2010, as were Wyeth’s motions for summary judgment after a hearing

in February, 2012 and subsequent order in October, 2015.

        On April 16, 2016, USDOJ announced that the federal government and the intervening

states had reached a settlement agreement with Wyeth in the amount of $784.6 million dollars to

resolve the Wyeth Qui Tam Consolidated Action in which it was alleged that Wyeth underpaid

drug rebates to Medicaid by failing to give the government the same discounts that it provided to

private purchasers of drugs. Under the terms of the announced settlement, Wyeth agreed to pay

$413,248,820 to the federal government and $371,351,180 to the state Medicaid programs.

        Under the terms of the announced settlement, the federal and state governments paid a

combined relator share of $98,058,190 to relators Dr. LaCorte and Ms. Kieff. Pursuant to a




Prejudice”).
46
   See V&G/B&S’s Proposed Findings/Conclusions, Section XI, ¶¶105-119 (ECF No. 685-1); see also V&G/B&S’s
Additional Proposed Findings/Conclusions, 177-184 (ECF No. 691); Plaintiffs’ Ex. 135.


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settlement agreement reported to47 and approved by this Court,48 sixty-two percent (62%) of

Relator LaCorte’s share, plus accrued interest, was paid to Dr. LaCorte from the funds in the

registry of this Court in accordance with the Court’s January 30, 2017 Order.49 Pursuant to the

same settlement agreement reported to and approved by this Court, Dr. LaCorte acknowledged

that the remaining thirty-eight percent (38%) of Relator LaCorte’s share, plus accrued interest,

are contingency attorneys’ fees to be allocated by the Court among the three law firms, TSLF,

V&G, and B&S.50

         (viii) V&G and B&S Offered to Return to Represent Dr. LaCorte, Notwithstanding Yet
                Another Dr. LaCorte’s Termination Without Cause51

         As further proof of the contrived nature of Dr. LaCorte’s termination encouraged by Dr.

Sakla, Dr. LaCorte requested V&G and B&S to return to the case. V&G and B&S expressed a

willingness to do so, provided that they did not have to work with Sakla in light of his procuring

their termination. Ultimately, Dr. LaCorte, with Sakla’s input, declined to do so.

         (ix)     The Sakla Parties Failed to Effectively Assist Government Attorneys and Did Not
                  Add Value to the Case on Dr. LaCorte’s Behalf on Peripheral Matters52

         Dr. Sakla did not materially aid the states or federal government. 53 Not only did he not

support the states or federal government at critical junctures, but he did not expand the scope of

recovery in any way. Remarkably, Dr. Sakla has argued he was responsible for the recovery on

deposit. In reality, he did nothing more than take a template that B&S had developed in the

47
   Joint Motion of Relator Dr. William St. Jean LaCorte, Vezina & Gattuso, LLC and Boone & Stone to Effectuate
Settlement, p.1 (hereinafter “Jt. Mt. to Effectuate Settlement, p__”)(ECF No. 621).
48
   ECF Electronic notes of Order, dated November 29/20, 2016 allowing ECF Nos. 621 (ECF No. 623).
49
   Order, dated January 30, 2017 (ECF No. 647).
50
   Jt. Mt. to Effectuate Settlement, p. 1 (ECF Nos. 621 and 623).
51
   See V&G/B&S’s Proposed Findings/Conclusions, Section XII, ¶¶120-124 (ECF No. 685-1).
52
   Id., Section XIII, ¶¶126-136.
53
   See Declarations of Kathleen Warner, ¶10 (ECF No. 686-6)(“I did not interact much with Dr. Sherif Sakla. . . He
had very little contact with me apart from the times I would see him at court hearings. I did not get the support from
Dr. Sakla that Mr Vezina provided throughout the Wyeth case, even after Mr. Vezina was terminated by Dr.
LaCorte); Nicholas Diez Decl., ¶13 (ECF No. 686-7); and Daniel R. Miller Decl. ¶18 (ECF No. 686-9); see also
Declarations of Frederick M. Morgan, Jr., ¶35 (ECF No. 686-11); Michael Sullivan, ¶¶38-40 (ECF No. 686-12).

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Merck and Pharmerica actions and added back the non-bundling/non-best price claims that the

government did not want and requested LaCorte to dismiss previously before the case was

transferred to Boston.54 Dr. Sakla’s refiling of the Anti-Kickback Statute, the Food, Drug &

Cosmetic Act claims, and the Prescription Drug Marketing Act claims as well as others added

nothing to the case and were not part of covered conduct.55

        (x)      V&G and B&S Materially Assisted the Government Attorneys and Assisted in the
                 Successful Outcome of the Wyeth Qui Tam Action.

        In contrast, V&G and B&S materially aided the states’ attorneys and federal government

attorneys in persuading them to intervene in the Wyeth case and assisting them throughout the

Wyeth litigation.56 As to V&G, the firm rendered meaningful and substantial legal services as

part of the joint venture representation of Dr. LaCorte in the Wyeth qui tam case, including

without limitation, in its investigation of claims, drafting of pleadings including the original

complaint, the first amended complaint, and the second amended complaint; developing the key

legal theory in the case, the “eureka moment” of the bundling/best price Medicaid rebate claims,

that was the subject of the government’s intervention and the subject of the covered conduct

under the Wyeth April 2016 settlement agreement; developing damages models; serving as the

point person for relator Dr. LaCorte up to the date of termination in interactions with the federal


54
   See id., Section XIII, ¶126 and fn. 41; Frederick M. Morgan, Jr., Decl. ¶35 (ECF No. 686-11).
55
   V&G/B&S’s Proposed Findings/Conclusions, Section XIII, ¶126 (685-1). Dr Sakla alleges that he incurred
thousands of hours of document review on the Wyeth case, yet he was not given access to any of the Wyeth
documents until November of 2010, at the earliest. As discussed above, he made some unsuccessful efforts in
attempts to gain access to Wyeth's documents informally prior to November 2010, but was not given authority to do
so. Accordingly, the Sakla Parties had access to Wyeth materials at most for review for a total of fourteen months,
from December 2010 until February 2012, when the discovery period closed, to incur the proposed hours he presents
to the Court to justify his contributions on this case. Most importantly, the time period when Dr. Sakla reported
working the vast majority of those hours was during the months when the federal and state governments were
responsible for and leading the prosecution of the Wyeth case.
56
   See Ann Ackil Decl., ¶¶5-18 (ECF No. 686-5); Kathleen Warner Decl., ¶¶11-14 (ECF No. 686-6); Nicholas Diez
Decl., ¶¶5-11, 15 (ECF No. 686-7); Lelia Winget-Hernandez Decl., ¶¶4-8 (ECF No. 686-8); Daniel R. Miller Decl.,
¶¶9-12, 18 (ECF No. 686-9); see also J. Marc Vezina Decl, ¶¶39-111 (ECF No. 683-3); William S. Stone Decl.,
¶¶12-33, 38-40 (ECF No. 683-4); Frederick M. Morgan, Jr. Decl., ¶¶12-33, 38-40 (ECF No. 686-11); Michael
Sullivan Decl., ¶¶28-37, 45, 46, 47 (ECF No. 686-12).¶

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government lawyers and states’ attorneys; negotiating with the government lawyers to get their

interest in the LaCorte/Wyeth qui tam action; advocating for and turning the government’s

declination on the LaCorte/Wyeth action into an eventual intervention by the federal government

and 36 states; participating in the co-relator negotiations with Relator Kieff’s counsel that fixed

the percentages of the two relators’ shares; drafting pleadings that resulted in the dismissal

without prejudice of the non-bundling/non-best price claims that were not part of covered

conduct in the settlement and the transfer and consolidation of the Wyeth Qui Tam Consolidated

Action; and assisting and supporting the federal government and the states before the government

intervention in this action.57

        As to B&S, the firm rendered substantial and meaningful legal services for the client,

including without limitation, in its investigation of the Wyeth claims; providing access to non-

recourse financing for the relators’ five qui tam actions; reviewing and providing input on the

first and second amended complaints; taking the lead on the negotiations of the co-relator

agreement with Relator Kieff’s counsel that fixed the percentages of the two relators’ shares,

consistent relationship management with co-counsel and the client; negotiating with the

government lawyers to stir interest in the Wyeth Qui Tam Consolidated Action; assisting V&G

and the Government (Federal and State) during the litigation; and providing the experienced

perspective of trial counsel to the strategies, theories of liability, and development of potential

damages prior to their discharge.




57
  V&G/B&S’s Proposed Findings, Section V, ¶¶56-60; Section VII, ¶¶66-69, 71-73, 76, 78; Section VIII, ¶¶ 80-87;
Section IX, ¶¶88-94; Section X, ¶¶ 100, 102; Section XIV, ¶¶137-156; Ultimate Findings, ¶¶2, 3 (ECF No. 685-1).

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         The meaningful legal services rendered by V&G and B&S contributed to and culminated

in the government intervening and succeeding in settling with Wyeth for $784.6 million dollars

and that resulted in a very substantial Relator’s recovery to Dr. LaCorte.58

         III.     Argument

                  A. The June 24, 2004 Representation Contract is a Valid and Binding
                     Contingency Fee Agreement That Creates a Joint Venture Among the
                     Three Law Firms and is Presumed to Divide the Contingency Attorneys’
                     Fees Evenly59

         The June 2004 CFA is valid, binding and enforceable under the laws of (i) Louisiana and

(ii) Georgia. The June 2004 CFA expressly confirms in writing the client’s consent to the

contingent fee being shared among the three law firms, (i) TLSF; (ii) V&G and (iii) B&S in

accordance with the Louisiana Rules of Professional Conduct and the Georgia Rules of

Professional Conduct.60 The June 2004 CFA expressly confirms in writing with Dr. LaCorte, the

client, that each lawyer assumed joint responsibility for Dr. LaCorte’s representation, and Dr.

LaCorte assented to the participation of all the lawyers involved in accordance with the

Louisiana and Georgia Rules of Professional Conduct.61 The Code of Professional Responsibility

does not regulate such agreements among attorneys, does not prohibit enforcement of that

agreement, and does not require apportioning of the fee on a quantum meruit basis.62


58
   Id., Section VI, ¶¶61-65; Section VII, ¶¶67, 71-74, 77; Section VIII, ¶¶80-87; Section IX, ¶¶88-89, Section X,
¶¶100, 102; Ultimate Conclusion, ¶¶2, 3.
59
   Id., Section IV, ¶¶35-55.
60
   Id., Proposed Conclusions, ¶9.
61
   Id., Proposed Conclusions, ¶¶12-13, 15-16.
62
   Louisiana Law: Jumonville v. Cardenas, 2013 WL 6506205 (Unpublished, Case No. 2013-0037 La. App. 1st Cir.
12/10/13), rehearing denied (3/24/2014); Scurto v. Siegrist, 598 So. 2d 507, 509-10 (La. Ct. App. 1992) writ denied,
600 So. 2d 683 (La. 1992); Fox v. Heisler, 2003-1964 (La. App. 4 Cir. 5/12/04), 874 So. 2d 932, 938 (La. Ct. App.
2004) cert. denied, 2004-1748 (La. 10/29/04), 885 So.2d 588; Tolliver v. Naor, *7 2003 WL 21241837 (E.D. LA
May 23, 2003).
Georgia Law: Quantum meruit is not the applicable remedy where the contract (including a contingent fee contract
with an attorney) expressly provides for a different remedy. The parties are free to set by the contract the manner in
which attorney’s fees will be calculated. Morrow v. Stewart, 197 Ga. App. 689, 690, 399 S.E.2d 280, 281 (1990);
Hill v. Centennial/Ashton Properties Corp., 254 Ga. App. 176, 177, 561 S.E.2d 853, 855 (2002) (same, citing
Morrow).

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         The June 2004 CFA created a joint venture between Dr. LaCorte, TSLF, V&G and B&S

in Dr. LaCorte’s Wyeth case and the law of both Louisiana and Georgia provide that joint

venturers are presumed to share equally in the contingency fee.63 The policy announced by the

Louisiana Supreme Court in Saucier v. Hayes Dairy Products, Inc., 373 So. 2d 102 (La. 1978)

was to address concerns that the client might be exposed to separate, multiple fee claims where

successor representation occurs. See, e.g., Defrancesch v. Hardin, 510 So. 2d 42, 46 (La. Ct.

App. 1987) writ denied, 513 So. 2d 819 (La. 1987). In the event that there is a discharge without

cause, as was the case here, and there is no successor counsel hired following the discharge, as

was also the case here, then there is no reason for the court to be concerned with the client being

exposed to more than one contingency fee. See Saucier, 373 So.2d at 118.64

         The law is not different in Georgia in this respect. As a matter of both Georgia and

Louisiana law, V&G and B&S’s inability to perform further services on Dr. LaCorte’s behalf

under the June 2004 CFA was excused after their bad faith discharge, and the condition of

performance of further services was fulfilled, as a matter of law, because Dr. LaCorte and

TSLF's wrongful conduct prevented V&G and B&S from performing such further services.

O.C.G.A. § 13-4-23 and La.Civ.Code Ann. art. 1772.65




63
   V&G/B&S’s Proposed Conclusions, ¶¶23-25 (ECF No. 685-1). Louisiana Law: Jumonville v. Cardenas, 2013
WL 6506205 (Unpublished, Case No. 2013-0037 La. App. 1st Cir. 12/10/13), rehearing denied (3/24/2014) (Under
La. Code Civ. Proc. Ann. Art. 2168 citation of this unpublished opinion is authorized.); Scurto v. Siegrist, 598 So.
2d 507, 509-10 (La. Ct. App. 1992) writ denied, 600 So. 2d 683 (La. 1992); Defrancesch v. Hardin, 510 So. 2d at
46; McCann v. Todd, 203 La. 631, 638, 14 So.2d 469, 471 (1943); Tolliver v. Naor, *7 2003 WL 21241837 (E.D.
La. May 23, 2003).
V&G/B&S’s Proposed Conclusions, ¶¶31-32 (ECF No. 685-1). Georgia Law: Glover v. Maddox, 98 Ga. App. 548,
557, 106 S.E.2d 288, 295 (1958); Nickerson v. Holloway, 220 Ga. App. 553, 553, 469 S.E.2d 209, 210 (1996);
Kilgore v. Sheetz, 268 Ga. App. 761, 769, 603 S.E.2d 24, 30 (2004) (Equal division of fees rule applies in the case of
joint representation even though settlement occurs after one of the attorneys has died).
64
   See V&G/B&S’s Proposed Conclusions, ¶29 (ECF No. 685-1).
65
   See id., ¶¶31-33 (and cases cited therein).

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                  B. In the Alternative, V&G and B&S are Entitled to a Quantum Meruit
                     Recovery Where, as Here, They Provided the Substantial and Meaningful
                     Legal Services.66

         Regarding quantum meruit, Louisiana law is clear that quantum meruit involves “more

than simply the hours spent.... It involves the ultimate results obtained as well as the particular

benefit to the case derived for each unit of time devoted to the case.” Smith v. Westside Transit

Lines, Inc., 313 So.2d 371, 376 (La. App. 3d Cir. 1974).67 Further, “[t]he fact finder should look

to the ultimate results obtained, the benefit to the case for each task undertaken by the attorney,

and the quality and effectiveness of the services performed by both the discharged and

subsequent counsel. The number of hours an attorney has spent on the matter is not dispositive

of the fee due to that attorney.” Id. at 378.68

         V&G rendered meaningful legal services to the client in connection with a complex

LaCorte/Wyeth qui tam action that turned a declined case into a case in which, with the

substantial and meaningful work of developing the legal theory of bundling/best price for his

client, persuaded the government to intervene in the claims that produced the recovery on

deposit. V&G assisted B&S in negotiating a co-relator agreement that was quite favorable to his
66
   Id., ¶¶37-46 (ECF No. 685-1).
67
   Saucier, 373 So.2d at 118 (“Focusing alone upon the attorney’s investment of time, or even considering in
addition such matters as counsel’s skill, the importance of the case and other readily identifiable factors, does an
injustice to the attorney. Such focus is at least at variance with the reality of the employment contract, for it is quite
possible that the attorney would have been unwilling to undertake representation, fee contingent upon recovery, if
told at the outset that the client would, or would be able to, discharge him and pay him on some basis other than the
agreed upon percentage, and only if and when, with subsequent employed counsel (perhaps not as able as original
counsel) the client were to win a settlement or judgment.”); O’Rourke v. Cairns, 683 So.2d 697, 703 (La. 1996) (“A
calculation based on hours alone is a bright-line rule which fails to consider the unique character of the contingency
fee contract, including risks not encountered in hourly or fixed fee agreements, which Louisiana courts have
recognized for many years. Therefore, we find that the lower courts erred in confining the quantum meruit analysis
only to the actual hours spent by discharged counsel in this case”).
68
   The Louisiana Supreme Court has instructed courts to consider factors inspired by Rule 1.5(a) of the Louisiana
Rules of Professional Conduct in arriving at reasonable fee awards in quantum meruit. These include:
          (1) The ultimate result obtained; (2) the responsibility incurred; (3) the importance of the litigation; (4)
          amount of money involved; (5) extent and character of the work performed; (6) legal knowledge,
          attainment, and skill of the attorneys; (7) number of appearances made; (8) intricacies of the facts involved;
          (9) diligence and skill of counsel; and (10) the court's own knowledge.
City of Alexandria v. Brown, 740 F.3d 339, 358 (5th Cir. 2014)(quoting State Dep’t of Transp. & Dev. v.
Williamson, 597 So. 2d 439, 441 (La. 1992)).

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client. V&G was also directly involved in the development of damage models and rendered

extensive assistance and support to the federal government lawyers and states attorneys, which

contributed to and culminated in the government intervening and succeeding in settling with

Wyeth for 784.6 million dollars and that resulted in a very substantial relator’s recovery to

Relator LaCorte.

       Likewise, B&S rendered meaningful legal services to Relator LaCorte in connection with

the LaCorte/Wyeth qui tam action that turned a declined case into a case that culminated in the

government intervening and succeeding in settling with Wyeth for $784.6 million dollars. The

meaningful legal services that B&S provided to Dr. LaCorte and the federal and state

governments included investigation of the Wyeth claims; providing access to non-recourse

financing for the relators’ five qui tam actions; consultation with V&G; providing strategic

assistance, planning, and advice in refining legal theories and strategies; meeting with the

government to intervene on the bundling/best price claim; taking the lead in the negotiations of a

co-relator agreement with the other relator (Kieff) that was quite favorable to Relator LaCorte;

engaging in efforts to keep the Relator LaCorte from undermining his legal team; engaging in

efforts to make sure the legal team collaborated in a coordinated manner; advising and

persuading Relator LaCorte in 2006 to dismiss collateral claims in which the federal government

was not interested and to which they requested dismissal instead of a declination; advising and

persuading Relator LaCorte to cooperate with the federal government in transferring his Wyeth

case to the U. S. District Court for the District of Massachusetts to be consolidated with Relator

Kieff’s case; and providing substantial assistance and support to the federal and state government

lawyers.




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        The facts surrounding the government's prosecution of the Wyeth action, and the

involvement of V&G, B&S and/or the Sakla Parties speaks directly to the lack of contribution by

the Sakla Parties towards the ultimate outcome in the case after the government intervened.69

The Sakla Parties have centered their quantum meruit argument, throughout the discovery and

pleadings in this litigation, on the number of hours re-created or drummed up on the case from

2008-2016, but not at all as to the ‘meruit’ in the number of hours of claimed work which was

insignificant. Indeed, the Sakla Parties offer no testimony from the government on the Sakla

Parties’ contribution to the overall success of the Wyeth case. In contrast, V&G and B&S have

declarations from five states’ attorneys noting the support and assistance provided by V&G

and/or B&S. For the majority of the years as sole counsel for Dr. LaCorte, the Sakla Parties did

nothing to assist the government in handling their case;70 to the contrary, Sakla filed an amended

complaint that conflicted with the government’s prior requests to streamline Dr. LaCorte’s

claims to those in which the government intervened.71 The additional claims in the Sakla

Parties’ amended complaint that they claim justifies their attorneys’ fees award were never part

of the covered conduct settled for $784.6 million. Wyeth’s counsel pled to the covered conduct

of the Wyeth settlement in their court filing, as follows: “Relator LaCorte’s off-label marketing

and kickback claims remained firmly in the periphery, and his attempts to re-write history with

Dr. Sakla at the center of this litigation are far-fetched and plainly contradicted by the undisputed

record.”72 Further, the Sakla Parties offer no evidence that their hours spent allegedly reviewing

documents on worthless claims and sitting in the governments’ depositions contributed in any

way toward the successful outcome of the Wyeth action.


69
   See V&G/B&S’s Proposed Findings/Conclusions, Section XIII, ¶¶126-136.
70
   Id., Section XIII, ¶¶133-134.
71
   Id., Section XIII, ¶126.
72
   See ECF No. 580, Exhibit X, p.1.

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                  C. Principles of Judicial Estoppel Apply to Bar Dr. Sakla and TSLF
                     from Recanting their Binding Interpretation of the June 24, 2004
                     CFA.73

         The Sakla parties have attempted to repudiate the admissions they made, in U.S. ex rel.

Dr. LaCorte v. Merck case, including, but not limited to, admissions made in their Statement of

Uncontested Material Fact, regarding the contract at issue in this case:

                  In said June 2004 Representation Contract, Dr. LaCorte specified that all
                  prior fee agreements were superseded, and Dr. LaCorte made an
                  irrevocable assignment to the three law firms for each of them to divide
                  the total attorney’s contingency fee as follows: 1/3 to The Sakla Law Firm
                  APLC, 1/3 to Boone & Stone and 1/3 to Vezina & Gattuso.74

Additional admissions to that effect were made in multiple separate filings in the United States

District Court for the Eastern District of Louisiana. They are estopped as a matter of law from

taking the opposite position in this litigation. Dr. Sakla and TSLF made numerous affirmative

representations concerning the June 2004 CFA that are binding upon Dr. Sakla and TSLF in this

action.75




73
   See V&G/B&S’s Proposed Conclusions, Section XX, ¶¶47-53 (ECF No. 685-1).
74
   Id., Section XV, ¶160; Section XX, ¶47. This representation to the U.S. District Court for the Eastern District of
Louisiana was directed to the June 24, 2004 CFA contract, not the case, and since the contract is five qui tam cases
in one, including Wyeth, the representation is that the split is applicable to all of the LaCorte qui tam cases as the
Sakla parties did not limit this declarative admission.
75
   Id., Section XV, ¶¶157-160; Section XX, ¶48. In Dr. Sakla and TSLF’s Memorandum in Support of In Rem
Motion (U.S. ex rel. LaCorte v. Merck ECF No. 334-3) filed in the Merck matter in the U.S. District Court for the
Eastern District of Louisiana, the Sakla Parties expressly represented to the Court as follows:
In said June 2004 Representation Contract, Dr. LaCorte specified that all prior fee arrangements were superseded,
and Dr. LaCorte made an irrevocable assignment to the three law firms for each of them to divide the total attorney’s
contingency fee as follows: 1/3 to The Sakla Law Firm, APLC, 1/3 to Boone & Stone, and 1/3 to Vezina & Gattuso.
Here, the Sakla Parties have made repeated judicial statements regarding the contingency fee agreement at issue in
this case and the joint venture created between the firms. The very lawyer who made the statements upholding the
June 2004 CFA and the joint venture to share fees on behalf of TSLF and Dr. Sakla (Isaac Ryan) is counsel of
record in this case now seeking to disavow or repudiate the agreement to share fees when it now suits his client's
whims or avarice.

                                                         19
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                  D. Dr. LaCorte’s Claims against Former Counsel Were Dismissed
                     with Prejudice in October 2008 and Attempts to Resurrect Such
                     Issues in this Litigation are Barred by the Doctrine of Res
                     Judicata/Claim and Issue Preclusion

         The Sakla parties lack standing to raise the termination as being “for cause,” and even if

they had standing, they are barred by the doctrines of res judicata/claim and issue preclusion

inasmuch as (1) Dr. LaCorte and Dr. Sakla dismissed, with prejudice, their prior claims against

V&G and B&S and those dismissals are entitled to preclusive effect.76

         IV.      Conclusion77

         For the foregoing reasons, the Court should enforce the June 24, 2004 contract at issue

and allocate the thirty eight percent (38%) contingency attorneys’ fees, plus accrued interest on

the funds remaining in the registry of this Court. on a 1/3, 1/3 and 1/3 basis among V&G, B&S

and the Sakla parties. The Court should award V&G and B&S no less than that sum should the

Court decide this dispute under a quantum meruit approach.




76
   In Part V, ¶7 of the Merck Settlement Agreement and Release (Plaintiffs’ Ex. 146), Dr. LaCorte and Dr. Sakla
both covenanted and warranted that they have would not file or assert “any legal, equitable, contractual or
administrative rights or claims of any nature whatsoever. . . arising out of the alleged acts, omissions, transactions or
occurrences up to and including the date of [Merck Settlement] Agreement.” (emphasis added). See W. Stone Decl.,
¶¶203, 203, and 204 (ECF No. 686-4).
Louisiana Law: Dismissal of all claims asserted is entitled to res judicata/issue prelusion effect under the law of
Louisiana. See LSA R.S. 13:4231 and Ortego v. State, Dep't of Transp. & Dev., 96-1322 (La. 2/25/97), 689 So.2d
1358, 1363, 1997 WL 76820 (“While the doctrine of res judicata is ordinarily premised on a final judgment on the
merits, it also applies where there is a transaction or settlement of a disputed or compromised matter that has been
entered into by the parties); Bailey v. Martin Brower Co., 94–1179 p. 3 (La. App. 1st Cir.1995); see also LSA–C.C.
art. 3078;3 Rodriguez v. Louisiana Tank, Inc., 94–0200 p. 9 (La. App. 1st Cir. June 23, 1995); 657 So.2d 1363, 1369,
writ denied, 95–2268 (La. Nov. 27, 1995), 663 So.2d 739.
Georgia Law: Dismissal of all claims asserted is entitled to res judicata/issue prelusion effect under the law of
Georgia. O.C.G.A. § 9-12-40; Buford-Clairmont Company, Ltd. V. Cato Corporation, 241 Ga. App. 50, 526 S.E.2d
at 108 (Applying res judicata to a court enforced settlement agreement); McIver v. Jones, 209 Ga. App. 670, 673,
434 S.E.2d 504, 507 (1993)(Applying res judicata in a second action as a result of the dismissal of a counterclaim in
the first proceeding on the same subject).
77
   V&G and B&S incorporate their other legal arguments set forth in their Motion for Summary Judgment (ECF No.
652) and in their Proposed Rulings of Law (ECF No. 685-1) and Add’l Proposed Rulings of Law (ECF No. 691).

                                                          20
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                                              Respectfully submitted,

                                              VEZINA & GATTUSSO, LLC and
                                              BOONE & STONE

                                              By their attorneys,


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Dated: January 8, 2018

                                 CERTIFICATE OF SERVICE

       I, Christopher R. O’Hara, hereby certify that this document has been filed through the

ECF system, will be sent electronically to the registered participants as identified on the notice of

Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants on this date.

                                                       /s/ Christopher R. O’Hara

Dated: January 8, 2018




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